              Case:19-12044-MER Doc#:1 Filed:03/20/19                                    Entered:03/20/19 12:38:00 Page1 of 48

Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF COLORADO, DENVER DIVISION

Case number (if known)                                                         Chapter you are filing under:
                                                                                  Chapter 7
                                                                                  Chapter 11
                                                                                  Chapter 12

                                                                                  Chapter 13                                        Check if this an amended
                                                                                                                                    filing




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                       12/17
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in all
of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every
question.


Part 1:    Identify Yourself

                                     About Debtor 1:                                                 About Debtor 2 (Spouse Only in a Joint Case):

1.   Your full name

     Write the name that is on       Allison
     your government-issued          First name                                                      First name
     picture identification (for
     example, your driver's          Lindsey
     license or passport).           Middle name                                                     Middle name
     Bring your picture
     identification to your meeting
                                    Oscar
     with the trustee.              Last name and Suffix (Sr., Jr., II, III)                         Last name and Suffix (Sr., Jr., II, III)




2.   All other names you have
     used in the last 8 years
     Include your married or
     maiden names.



3.   Only the last 4 digits of
     your Social Security
     number or federal               xxx-xx-6131
     Individual Taxpayer
     Identification number
     (ITIN)




Official Form 101                                 Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 1
             Case:19-12044-MER Doc#:1 Filed:03/20/19                                         Entered:03/20/19 12:38:00 Page2 of 48
Debtor 1   Oscar, Allison Lindsey                                                                         Case number (if known)




                                 About Debtor 1:                                                   About Debtor 2 (Spouse Only in a Joint Case):

4.   Any business names and
     Employer Identification
     Numbers (EIN) you have         I have not used any business name or EINs.                        I have not used any business name or EINs.
     used in the last 8 years

     Include trade names and     Business name(s)                                                  Business name(s)
     doing business as names

                                 EINs                                                              EINs




5.   Where you live                                                                                If Debtor 2 lives at a different address:

                                 31468 Kings Vly W
                                 Conifer, CO 80433-7506
                                 Number, Street, City, State & ZIP Code                            Number, Street, City, State & ZIP Code

                                 Jefferson
                                 County                                                            County

                                 If your mailing address is different from the one                 If Debtor 2's mailing address is different from yours, fill it in
                                 above, fill it in here. Note that the court will send any         here. Note that the court will send any notices to this mailing
                                 notices to you at this mailing address.                           address.



                                 Number, P.O. Box, Street, City, State & ZIP Code                  Number, P.O. Box, Street, City, State & ZIP Code




6.   Why you are choosing        Check one:
     this district to file for                                                                     Check one:
     bankruptcy                         Over the last 180 days before filing this petition, I
                                        have lived in this district longer than in any other               Over the last 180 days before filing this petition, I have
                                        district.                                                          lived in this district longer than in any other district.

                                        I have another reason.                                             I have another reason.
                                        Explain. (See 28 U.S.C. § 1408.)                                   Explain. (See 28 U.S.C. § 1408.)




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                       page 2
             Case:19-12044-MER Doc#:1 Filed:03/20/19                                       Entered:03/20/19 12:38:00 Page3 of 48
Debtor 1    Oscar, Allison Lindsey                                                                           Case number (if known)



Part 2:    Tell the Court About Your Bankruptcy Case

7.   The chapter of the           Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form
     Bankruptcy Code you are      2010)). Also, go to the top of page 1 and check the appropriate box.
     choosing to file under
                                     Chapter 7
                                     Chapter 11
                                     Chapter 12

                                     Chapter 13



8.   How you will pay the fee             I will pay the entire fee when I file my petition. Please check with the clerk’s office in your local court for more details
                                          about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier’s check, or money order.
                                          If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with a
                                          pre-printed address.
                                          I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay The
                                          Filing Fee in Installments (Official Form 103A).
                                          I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may, but is
                                          not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that applies to
                                          your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out the Application
                                          to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



9.   Have you filed for              No.
     bankruptcy within the last
     8 years?                        Yes.
                                               District                                   When                             Case number
                                               District                                   When                             Case number
                                               District                                   When                             Case number



10. Are any bankruptcy cases         No
    pending or being filed by
    a spouse who is not filing       Yes.
    this case with you, or by
    a business partner, or by
    an affiliate?
                                               Debtor                                                                     Relationship to you
                                               District                                   When                            Case number, if known
                                               Debtor                                                                     Relationship to you
                                               District                                   When                            Case number, if known



11. Do you rent your                 No.        Go to line 12.
    residence?
                                     Yes.       Has your landlord obtained an eviction judgment against you?
                                                          No. Go to line 12.
                                                          Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as part of this
                                                          bankruptcy petition.




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                       page 3
             Case:19-12044-MER Doc#:1 Filed:03/20/19                                        Entered:03/20/19 12:38:00 Page4 of 48
Debtor 1    Oscar, Allison Lindsey                                                                            Case number (if known)



Part 3:    Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
    of any full- or part-time           No.       Go to Part 4.
    business?
                                        Yes.      Name and location of business
     A sole proprietorship is a
     business you operate as an                   Name of business, if any
     individual, and is not a
     separate legal entity such as
     a corporation, partnership,
     or LLC.
                                                  Number, Street, City, State & ZIP Code
     If you have more than one
     sole proprietorship, use a
     separate sheet and attach it
     to this petition.                            Check the appropriate box to describe your business:
                                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                          None of the above

13. Are you filing under             If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate
    Chapter 11 of the                deadlines. If you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
    Bankruptcy Code and are          operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure in 11
    you a small business             U.S.C. 1116(1)(B).
    debtor?
                                        No.       I am not filing under Chapter 11.
     For a definition of small
     business debtor, see 11
                                        No.       I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
     U.S.C. § 101(51D).
                                                  Code.

                                        Yes.      I am filing under Chapter 11 and I am a small business debtor according to the definition in the Bankruptcy Code.


Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any              No.
    property that poses or is
    alleged to pose a threat of         Yes.
    imminent and identifiable                  What is the hazard?
    hazard to public health or
    safety? Or do you own
    any property that needs                    If immediate attention is
    immediate attention?                       needed, why is it needed?

     For example, do you own
     perishable goods, or
     livestock that must be fed,               Where is the property?
     or a building that needs
     urgent repairs?
                                                                              Number, Street, City, State & Zip Code




Official Form 101                                Voluntary Petition for Individuals Filing for Bankruptcy                                                     page 4
             Case:19-12044-MER Doc#:1 Filed:03/20/19                                          Entered:03/20/19 12:38:00 Page5 of 48
Debtor 1    Oscar, Allison Lindsey                                                                        Case number (if known)

Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling

                                     About Debtor 1:                                                 About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether           You must check one:                                             You must check one:
    you have received a                  I received a briefing from an approved credit                   I received a briefing from an approved credit
    briefing about credit                counseling agency within the 180 days before I                  counseling agency within the 180 days before I filed
    counseling.                          filed this bankruptcy petition, and I received a                this bankruptcy petition, and I received a certificate of
                                         certificate of completion.                                      completion.
     The law requires that you
     receive a briefing about            Attach a copy of the certificate and the payment plan,           Attach a copy of the certificate and the payment plan, if any,
     credit counseling before you        if any, that you developed with the agency.                      that you developed with the agency.
     file for bankruptcy. You
     must truthfully check one of        I received a briefing from an approved credit                    I received a briefing from an approved credit
     the following choices. If you       counseling agency within the 180 days before I                   counseling agency within the 180 days before I filed
     cannot do so, you are not           filed this bankruptcy petition, but I do not have a              this bankruptcy petition, but I do not have a certificate
     eligible to file.                   certificate of completion.                                       of completion.

     If you file anyway, the court       Within 14 days after you file this bankruptcy petition,          Within 14 days after you file this bankruptcy petition, you
     can dismiss your case, you          you MUST file a copy of the certificate and payment              MUST file a copy of the certificate and payment plan, if any.
     will lose whatever filing fee       plan, if any.
     you paid, and your creditors
     can begin collection                I certify that I asked for credit counseling                     I certify that I asked for credit counseling services
     activities again.                   services from an approved agency, but was                        from an approved agency, but was unable to obtain
                                         unable to obtain those services during the 7                     those services during the 7 days after I made my
                                         days after I made my request, and exigent                        request, and exigent circumstances merit a 30-day
                                         circumstances merit a 30-day temporary waiver                    temporary waiver of the requirement.
                                         of the requirement.
                                                                                                          To ask for a 30-day temporary waiver of the requirement,
                                         To ask for a 30-day temporary waiver of the                      attach a separate sheet explaining what efforts you made to
                                         requirement, attach a separate sheet explaining what             obtain the briefing, why you were unable to obtain it before
                                         efforts you made to obtain the briefing, why you were            you filed for bankruptcy, and what exigent circumstances
                                         unable to obtain it before you filed for bankruptcy, and         required you to file this case.
                                         what exigent circumstances required you to file this
                                         case.                                                            Your case may be dismissed if the court is dissatisfied with
                                                                                                          your reasons for not receiving a briefing before you filed for
                                         Your case may be dismissed if the court is                       bankruptcy.
                                         dissatisfied with your reasons for not receiving a
                                         briefing before you filed for bankruptcy.                        If the court is satisfied with your reasons, you must still
                                         If the court is satisfied with your reasons, you must            receive a briefing within 30 days after you file. You must file
                                         still receive a briefing within 30 days after you file.          a certificate from the approved agency, along with a copy of
                                         You must file a certificate from the approved agency,            the payment plan you developed, if any. If you do not do so,
                                         along with a copy of the payment plan you developed,             your case may be dismissed.
                                         if any. If you do not do so, your case may be
                                                                                                          Any extension of the 30-day deadline is granted only for
                                         dismissed.
                                                                                                          cause and is limited to a maximum of 15 days.
                                         Any extension of the 30-day deadline is granted only
                                         for cause and is limited to a maximum of 15 days.
                                         I am not required to receive a briefing about                    I am not required to receive a briefing about credit
                                         credit counseling because of:                                    counseling because of:

                                                Incapacity.                                                    Incapacity.
                                                I have a mental illness or a mental deficiency                 I have a mental illness or a mental deficiency that
                                                that makes me incapable of realizing or making                 makes me incapable of realizing or making rational
                                                rational decisions about finances.                             decisions about finances.

                                                Disability.                                                    Disability.
                                                My physical disability causes me to be unable                  My physical disability causes me to be unable to
                                                to participate in a briefing in person, by phone,              participate in a briefing in person, by phone, or through
                                                or through the internet, even after I reasonably               the internet, even after I reasonably tried to do so.
                                                tried to do so.

                                                Active duty.                                                   Active duty.
                                                I am currently on active military duty in a                    I am currently on active military duty in a military
                                                military combat zone.                                          combat zone.
                                         If you believe you are not required to receive a briefing        If you believe you are not required to receive a briefing about
                                         about credit counseling, you must file a motion for              credit counseling, you must file a motion for waiver of credit
                                         waiver credit counseling with the court.                         counseling with the court.




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                      page 5
Case:19-12044-MER Doc#:1 Filed:03/20/19               Entered:03/20/19 12:38:00 Page6 of 48




                                                Certificate Number: 17572-CO-CC-032098454


                                                              17572-CO-CC-032098454




                     CERTIFICATE OF COUNSELING

 I CERTIFY that on January 2, 2019, at 8:05 o'clock AM PST, Allison L Osccar
 received from Dollar Learning Foundation, Inc., an agency approved pursuant to
 11 U.S.C. § 111 to provide credit counseling in the District of Colorado, an
 individual [or group] briefing that complied with the provisions of 11 U.S.C. §§
 109(h) and 111.
 A debt repayment plan was not prepared. If a debt repayment plan was prepared, a
 copy of the debt repayment plan is attached to this certificate.
 This counseling session was conducted by internet.




 Date:   January 2, 2019                        By:      /s/Tania Duarte


                                                Name: Tania Duarte


                                                Title:   Counselor




 * Individuals who wish to file a bankruptcy case under title 11 of the United States Bankruptcy
 Code are required to file with the United States Bankruptcy Court a completed certificate of
 counseling from the nonprofit budget and credit counseling agency that provided the individual
 the counseling services and a copy of the debt repayment plan, if any, developed through the
 credit counseling agency. See 11 U.S.C. §§ 109(h) and 521(b).
             Case:19-12044-MER Doc#:1 Filed:03/20/19                                       Entered:03/20/19 12:38:00 Page7 of 48
Debtor 1    Oscar, Allison Lindsey                                                                           Case number (if known)

Part 6:    Answer These Questions for Reporting Purposes

16. What kind of debts do          16a.      Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C.§ 101(8) as “incurred by an
    you have?                                individual primarily for a personal, family, or household purpose.”
                                                  No. Go to line 16b.

                                                  Yes. Go to line 17.
                                   16b.      Are your debts primarily business debts? Business debts are debts that you incurred to obtain money
                                             for a business or investment or through the operation of the business or investment.
                                                  No. Go to line 16c.
                                                  Yes. Go to line 17.
                                   16c.      State the type of debts you owe that are not consumer debts or business debts



17. Are you filing under              No.    I am not filing under Chapter 7. Go to line 18.
    Chapter 7?

     Do you estimate that after       Yes.   I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses are
     any exempt property is                  paid that funds will be available to distribute to unsecured creditors?
     excluded and
     administrative expenses                      No
     are paid that funds will be
     available for distribution                   Yes
     to unsecured creditors?

18. How many Creditors do             1-49                                             1,000-5,000                                    25,001-50,000
    you estimate that you                                                              5001-10,000                                    50,001-100,000
    owe?                              50-99
                                      100-199                                          10,001-25,000                                  More than100,000
                                      200-999

19. How much do you                   $0 - $50,000                                     $1,000,001 - $10 million                       $500,000,001 - $1 billion
    estimate your assets to           $50,001 - $100,000                               $10,000,001 - $50 million                      $1,000,000,001 - $10 billion
    be worth?
                                      $100,001 - $500,000                              $50,000,001 - $100 million                     $10,000,000,001 - $50 billion
                                      $500,001 - $1 million                            $100,000,001 - $500 million                    More than $50 billion


20. How much do you                   $0 - $50,000                                     $1,000,001 - $10 million                       $500,000,001 - $1 billion
    estimate your liabilities to      $50,001 - $100,000                               $10,000,001 - $50 million                       $1,000,000,001 - $10 billion
    be?
                                      $100,001 - $500,000                              $50,000,001 - $100 million                      $10,000,000,001 - $50 billion
                                      $500,001 - $1 million                            $100,000,001 - $500 million                    More than $50 billion


Part 7:    Sign Below

For you                            I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.

                                   If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11, United
                                   States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                   If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this document, I
                                   have obtained and read the notice required by 11 U.S.C. § 342(b).

                                   I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                   I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a bankruptcy
                                   case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.
                                   /s/ Allison Lindsey Oscar
                                   Allison Lindsey Oscar                                              Signature of Debtor 2
                                   Signature of Debtor 1

                                   Executed on      March 19, 2019                                    Executed on
                                                    MM / DD / YYYY                                                     MM / DD / YYYY




Official Form 101                                Voluntary Petition for Individuals Filing for Bankruptcy                                                       page 6
            Case:19-12044-MER Doc#:1 Filed:03/20/19                                      Entered:03/20/19 12:38:00 Page8 of 48
Debtor 1   Oscar, Allison Lindsey                                                                           Case number (if known)




For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed under
represented by one              Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter for which the
                                person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b) and, in a case in
If you are not represented by   which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the schedules filed with the
an attorney, you do not need    petition is incorrect.
to file this page.
                                /s/ Brian Landy                                                      Date         March 19, 2019
                                Signature of Attorney for Debtor                                                  MM / DD / YYYY

                                Brian Landy
                                Printed name

                                Brian Landy, Attorney at Law
                                Firm name



                                4201 E. Yale Ave., Suite 110
                                Denve,r CO. 80222
                                Number, Street, City, State & ZIP Code


                                Contact phone. 303-781-2447                                                            Email:   brianlandy@landy-law.com
                                25337 CO
                                Bar number & State




Official Form 101                              Voluntary Petition for Individuals Filing for Bankruptcy                                                        page 7
              Case:19-12044-MER Doc#:1 Filed:03/20/19                                        Entered:03/20/19 12:38:00 Page9 of 48



            Fill in this information to identify your case:

 Debtor 1                 Allison Lindsey Oscar
                          First Name                        Middle Name                 Last Name

 Debtor 2
 (Spouse if, filing)      First Name                        Middle Name                 Last Name


 United States Bankruptcy Court for the:            DISTRICT OF COLORADO, DENVER DIVISION

 Case number
 (if known)                                                                                                                                 Check if this is an
                                                                                                                                            amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                              4/16
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

 Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.     What is your current marital status?

              Married
              Not married

2.     During the last 3 years, have you lived anywhere other than where you live now?

              No
              Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

        Debtor 1 Prior Address:                                 Dates Debtor 1 lived      Debtor 2 Prior Address:                               Dates Debtor 2
                                                                there                                                                           lived there

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

              No
              Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 Part 2         Explain the Sources of Your Income

4.     Did you have any income from employment or from operating a business during this year or the two previous calendar years?
       Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
       If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

              No
              Yes. Fill in the details.

                                                 Debtor 1                                                        Debtor 2
                                                 Sources of income                 Gross income                  Sources of income              Gross income
                                                 Check all that apply.             (before deductions and        Check all that apply.          (before deductions
                                                                                   exclusions)                                                  and exclusions)

 From January 1 of current year until               Wages, commissions,                       $13,200.00            Wages, commissions,
 the date you filed for bankruptcy:                                                                              bonuses, tips
                                                 bonuses, tips
                                                     Operating a business                                            Operating a business




Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 1

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           Case:19-12044-MER Doc#:1 Filed:03/20/19                                          Entered:03/20/19 12:38:00 Page10 of 48
 Debtor 1     Oscar, Allison Lindsey                                                                      Case number (if known)



                                                  Debtor 1                                                       Debtor 2
                                                  Sources of income                Gross income                  Sources of income                  Gross income
                                                  Check all that apply.            (before deductions and        Check all that apply.              (before deductions
                                                                                   exclusions)                                                      and exclusions)

 For last calendar year:                             Wages, commissions,                      $64,040.00            Wages, commissions,
 (January 1 to December 31, 2018 )                                                                               bonuses, tips
                                                  bonuses, tips
                                                     Operating a business                                            Operating a business


 For the calendar year before that:                  Wages, commissions,                      $62,337.00            Wages, commissions,
 (January 1 to December 31, 2017 )                                                                               bonuses, tips
                                                  bonuses, tips
                                                     Operating a business                                            Operating a business


5.    Did you receive any other income during this year or the two previous calendar years?
      Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment, and
      other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery winnings. If
      you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

      List each source and the gross income from each source separately. Do not include income that you listed in line 4.

            No
            Yes. Fill in the details.

                                                  Debtor 1                                                       Debtor 2
                                                  Sources of income                Gross income from             Sources of income                  Gross income
                                                  Describe below.                  each source                   Describe below.                    (before deductions
                                                                                   (before deductions and                                           and exclusions)
                                                                                   exclusions)

 Part 3:     List Certain Payments You Made Before You Filed for Bankruptcy

6.    Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
           No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                 individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?
                         No.      Go to line 7.
                         Yes    List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the total amount you paid that
                                creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do not include
                                payments to an attorney for this bankruptcy case.
                    * Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.

            Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                 During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                         No.      Go to line 7.
                         Yes      List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not include
                                  payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an attorney for
                                  this bankruptcy case.


       Creditor's Name and Address                           Dates of payment              Total amount          Amount you        Was this payment for ...
                                                                                                   paid             still owe
       American Honda Finance                                Monthly                          $1,221.00          $13,282.00              Mortgage
       PO Box 168088                                                                                                                     Car
       Irving, TX 75016-8088                                                                                                             Credit Card
                                                                                                                                         Loan Repayment
                                                                                                                                         Suppliers or vendors
                                                                                                                                         Other




Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                          page 2

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           Case:19-12044-MER Doc#:1 Filed:03/20/19                                          Entered:03/20/19 12:38:00 Page11 of 48
 Debtor 1     Oscar, Allison Lindsey                                                                      Case number (if known)



7.    Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
      Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations of
      which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for a
      business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and alimony.

            No
            Yes. List all payments to an insider.
       Insider's Name and Address                            Dates of payment               Total amount         Amount you        Reason for this payment
                                                                                                    paid            still owe

8.    Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
      insider?
      Include payments on debts guaranteed or cosigned by an insider.

            No
            Yes. List all payments to an insider
       Insider's Name and Address                            Dates of payment               Total amount         Amount you        Reason for this payment
                                                                                                    paid            still owe      Include creditor's name

 Part 4:     Identify Legal Actions, Repossessions, and Foreclosures

9.    Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
      List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
      and contract disputes.

            No
            Yes. Fill in the details.
       Case title                                            Nature of the case           Court or agency                          Status of the case
       Case number

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

            No. Go to line 11.
            Yes. Fill in the information below.
       Creditor Name and Address                             Describe the Property                                          Date                         Value of the
                                                                                                                                                            property
                                                             Explain what happened
       Loancare                                              Debtor's residence (Public Trustee Sale                        3/21/19                     $475,000.00
                                                             Stayed)

                                                                 Property was repossessed.
                                                                 Property was foreclosed.
                                                                 Property was garnished.
                                                                 Property was attached, seized or levied.


11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
            No
            Yes. Fill in the details.
       Creditor Name and Address                             Describe the action the creditor took                          Date action was                  Amount
                                                                                                                            taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

            No
            Yes




Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                       page 3

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           Case:19-12044-MER Doc#:1 Filed:03/20/19                                           Entered:03/20/19 12:38:00 Page12 of 48
 Debtor 1     Oscar, Allison Lindsey                                                                       Case number (if known)



 Part 5:     List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
            No
            Yes. Fill in the details for each gift.
       Gifts with a total value of more than $600 per                 Describe the gifts                                     Dates you gave               Value
       person                                                                                                                the gifts

       Person to Whom You Gave the Gift and
       Address:

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
            No
            Yes. Fill in the details for each gift or contribution.
       Gifts or contributions to charities that total                 Describe what you contributed                          Dates you                    Value
       more than $600                                                                                                        contributed
       Charity's Name
       Address (Number, Street, City, State and ZIP Code)

 Part 6:     List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
    or gambling?

            No
            Yes. Fill in the details.
       Describe the property you lost and                   Describe any insurance coverage for the loss                     Date of your      Value of property
       how the loss occurred                                                                                                 loss                           lost
                                                            Include the amount that insurance has paid. List pending
                                                            insurance claims on line 33 ofSchedule A/B: Property.

 Part 7:     List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                            Description and value of any property                  Date payment or         Amount of
       Address                                                        transferred                                            transfer was             payment
       Email or website address                                                                                              made
       Person Who Made the Payment, if Not You
       Brian Landy, Attorney at Law                                   $1,945 toward attorney fees, $315                      Dec. 2018               $2,300.00
       3780 S Broadway Ste 107                                        filing fee, $40 credit report fee
       Englewood, CO 80113-3612


17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                            Description and value of any property                  Date payment or         Amount of
       Address                                                        transferred                                            transfer was             payment
                                                                                                                             made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not include




Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                                 page 4

Software Copyright (c) 2019 CINGroup - www.cincompass.com
           Case:19-12044-MER Doc#:1 Filed:03/20/19                                               Entered:03/20/19 12:38:00 Page13 of 48
 Debtor 1      Oscar, Allison Lindsey                                                                       Case number (if known)



      gifts and transfers that you have already listed on this statement.
            No
            Yes. Fill in the details.
       Person Who Received Transfer                                 Description and value of                    Describe any property or     Date transfer was
       Address                                                      property transferred                        payments received or debts   made
                                                                                                                paid in exchange
       Person's relationship to you

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
            No
            Yes. Fill in the details.
       Name of trust                                                Description and value of the property transferred                        Date Transfer was
                                                                                                                                             made

 Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
         No
            Yes. Fill in the details.
       Name of Financial Institution and                      Last 4 digits of               Type of account or         Date account was     Last balance before
       Address (Number, Street, City, State and ZIP           account number                 instrument                 closed, sold,         closing or transfer
       Code)                                                                                                            moved, or
                                                                                                                        transferred
       Bank of the West                                       XXXX-                              Checking               2019, Closed due                  $0.00
                                                                                                 Savings                to nominal
                                                                                                 Money Market
                                                                                                                        balance.
                                                                                                 Brokerage
                                                                                                 Other


21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

            No
            Yes. Fill in the details.
       Name of Financial Institution                                Who else had access to it?              Describe the contents               Do you still
       Address (Number, Street, City, State and ZIP Code)           Address (Number, Street, City, State                                        have it?
                                                                    and ZIP Code)

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

            No
            Yes. Fill in the details.
       Name of Storage Facility                                     Who else has or had access              Describe the contents               Do you still
       Address (Number, Street, City, State and ZIP Code)           to it?                                                                      have it?
                                                                    Address (Number, Street, City, State
                                                                    and ZIP Code)

 Part 9:       Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust for
    someone.

            No
            Yes. Fill in the details.
       Owner's Name                                                 Where is the property?                  Describe the property                          Value
       Address (Number, Street, City, State and ZIP Code)           (Number, Street, City, State and ZIP
                                                                    Code)



Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 5

Software Copyright (c) 2019 CINGroup - www.cincompass.com
         Case:19-12044-MER Doc#:1 Filed:03/20/19                                                Entered:03/20/19 12:38:00 Page14 of 48
 Debtor 1     Oscar, Allison Lindsey                                                                          Case number (if known)



       Owner's Name                                                Where is the property?                     Describe the property                            Value
       Address (Number, Street, City, State and ZIP Code)          (Number, Street, City, State and ZIP
                                                                   Code)

       Minor daughter of debtor                                                                               UTMA bank account, no                      $4,732.00
                                                                                                              contributions from debtor


 Part 10:    Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

      Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
      toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or regulations
      controlling the cleanup of these substances, wastes, or material.
      Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used to
      own, operate, or utilize it, including disposal sites.
      Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance, hazardous
      material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

            No
            Yes. Fill in the details.
       Name of site                                                Governmental unit                              Environmental law, if you         Date of notice
       Address (Number, Street, City, State and ZIP Code)          Address (Number, Street, City, State and       know it
                                                                   ZIP Code)

25. Have you notified any governmental unit of any release of hazardous material?

            No
            Yes. Fill in the details.
       Name of site                                                Governmental unit                              Environmental law, if you         Date of notice
       Address (Number, Street, City, State and ZIP Code)          Address (Number, Street, City, State and       know it
                                                                   ZIP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No
            Yes. Fill in the details.
       Case Title                                                  Court or agency                            Nature of the case                    Status of the
       Case Number                                                 Name                                                                             case
                                                                   Address (Number, Street, City, State
                                                                   and ZIP Code)

 Part 11:    Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
                A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time

                A member of a limited liability company (LLC) or limited liability partnership (LLP)

                A partner in a partnership

                An officer, director, or managing executive of a corporation

                An owner of at least 5% of the voting or equity securities of a corporation

            No. None of the above applies. Go to Part 12.

            Yes. Check all that apply above and fill in the details below for each business.
       Business Name                                         Describe the nature of the business                   Employer Identification number
       Address                                                                                                     Do not include Social Security number or ITIN.
       (Number, Street, City, State and ZIP Code)            Name of accountant or bookkeeper
                                                                                                                   Dates business existed


Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 6

Software Copyright (c) 2019 CINGroup - www.cincompass.com
          Case:19-12044-MER Doc#:1 Filed:03/20/19                                           Entered:03/20/19 12:38:00 Page15 of 48
 Debtor 1      Oscar, Allison Lindsey                                                                     Case number (if known)



28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

             No
             Yes. Fill in the details below.
        Name                                                  Date Issued
        Address
        (Number, Street, City, State and ZIP Code)

 Part 12:     Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers are
true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection with a
bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

 /s/ Allison Lindsey Oscar
 Allison Lindsey Oscar                                                 Signature of Debtor 2
 Signature of Debtor 1

 Date      March 19, 2019                                              Date

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
   No
   Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
   No
   Yes. Name of Person                  . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                     page 7

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           Case:19-12044-MER Doc#:1 Filed:03/20/19                                                          Entered:03/20/19 12:38:00 Page16 of 48
              Fill in this information to identify your case:

 Debtor 1                   Allison Lindsey Oscar
                            First Name                           Middle Name                          Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name                          Last Name


 United States Bankruptcy Court for the:                  DISTRICT OF COLORADO, DENVER DIVISION

 Case number
 (if known)                                                                                                                                                       Check if this is an
                                                                                                                                                                  amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                             12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                 Your assets
                                                                                                                                                                 Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................   $             238,000.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................        $              42,637.27

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................   $             280,637.27

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                 Your liabilities
                                                                                                                                                                 Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A,Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                     $             225,475.00

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of
                                                                                       Schedule E/F.................................                             $                      0.00

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of
                                                                                          Schedule E/F............................                               $              42,218.00


                                                                                                                                     Your total liabilities $               267,693.00


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 ofSchedule I................................................................................              $                4,271.00

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                         $                3,961.00

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
             No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

            Yes
 7.     What kind of debt do you have?

                Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or household
                purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C.§ 159.

                Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to the
                court with your other schedules.

 Official Form 106Sum                    Summary of Your Assets and Liabilities and Certain Statistical Information                                                    page 1 of 2
Software Copyright (c) 2019 CINGroup - www.cincompass.com
         Case:19-12044-MER Doc#:1 Filed:03/20/19                                       Entered:03/20/19 12:38:00 Page17 of 48
 Debtor 1     Oscar, Allison Lindsey                                                         Case number (if known)

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                           $   6,574.83


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                          Total claim
       From Part 4 on Schedule E/F, copy the following:

       9a. Domestic support obligations (Copy line 6a.)                                                    $              0.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                           $              0.00

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                 $              0.00

       9d. Student loans. (Copy line 6f.)                                                                  $              0.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                                $              0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)             +$              0.00


       9g. Total. Add lines 9a through 9f.                                                            $                 0.00




Official Form 106Sum                            Summary of Your Assets and Liabilities and Certain Statistical Information             page 2 of 2
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           Case:19-12044-MER Doc#:1 Filed:03/20/19                                                        Entered:03/20/19 12:38:00 Page18 of 48
               Fill in this information to identify your case and this filing:

 Debtor 1                    Allison Lindsey Oscar
                             First Name                             Middle Name                     Last Name

 Debtor 2
 (Spouse, if filing)         First Name                             Middle Name                     Last Name


 United States Bankruptcy Court for the:                     DISTRICT OF COLORADO, DENVER DIVISION

 Case number                                                                                                                                                  Check if this is an
                                                                                                                                                              amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                       12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.

        Yes. Where is the property?




 1.1                                                                        What is the property? Check all that apply

                                                                                    Single-family home                         Do not deduct secured claims or exemptions. Put
        31468 Kings Vly W                                                           Duplex or multi-unit building              the amount of any secured claims on Schedule D:
        Street address, if available, or other description                                                                     Creditors Who Have Claims Secured by Property .
                                                                                    Condominium or cooperative

                                                                                    Manufactured or mobile home
                                                                                                                               Current value of the       Current value of the
        Conifer                           CO        80433-7506                      Land                                       entire property?           portion you own?
        City                              State          ZIP Code                   Investment property                              $238,000.00                 $238,000.00
                                                                                    Timeshare
                                                                                                                               Describe the nature of your ownership interest
                                                                                    Other                                      (such as fee simple, tenancy by the entireties, or
                                                                            Who has an interest in the property? Check one     a life estate), if known.
                                                                                    Debtor 1 only                              JTWROS
        Jefferson                                                                   Debtor 2 only
        County                                                                      Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                                    At least one of the debtors and another        (see instructions)
                                                                            Other information you wish to add about this item, such as local
                                                                            property identification number:

                                                                            50% of residence (owned with Andrew Oscar)


 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
    you have attached for Part 1. Write that number here...........................................................................=>                         $238,000.00
 Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.




Official Form 106A/B                                                              Schedule A/B: Property                                                                    page 1
Software Copyright (c) 2019 CINGroup - www.cincompass.com
         Case:19-12044-MER Doc#:1 Filed:03/20/19                                             Entered:03/20/19 12:38:00 Page19 of 48
 Debtor 1         Oscar, Allison Lindsey                                                                       Case number (if known)

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

        No
        Yes


  3.1    Make:                                              Who has an interest in the property? Check one             Do not deduct secured claims or exemptions. Put
                                                                                                                       the amount of any secured claims on Schedule D:
         Model:                                                Debtor 1 only                                           Creditors Who Have Claims Secured by Property .
         Year:                                                 Debtor 2 only                                           Current value of the      Current value of the
         Approximate mileage:                                  Debtor 1 and Debtor 2 only                              entire property?          portion you own?
         Other information:                                    At least one of the debtors and another
         2016 Honda CRV, 50,000 Miles,
         good condition, purchased late                        Check if this is community property                             $20,225.00                 $20,225.00
                                                               (see instructions)
         2017, NADA Clean Trade-In
         Value


4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

        No
        Yes



 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
   .you have attached for Part 2. Write that number here.............................................................................=>                $20,225.00

 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                            Current value of the
                                                                                                                                              portion you own?
                                                                                                                                              Do not deduct secured
                                                                                                                                              claims or exemptions.
6. Household goods and furnishings
    Examples: Major appliances, furniture, linens, china, kitchenware
      No
        Yes. Describe.....
                                   Ordinary Household Goods including Sofa, Washer, Dryer,
                                   Sewing Machine, 2 coffee tables, stove, refrigerator, freezer, 3
                                   beds                                                                                                                     $1,000.00


7. Electronics
    Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
               including cell phones, cameras, media players, games
      No
        Yes. Describe.....
                                   Ordinary consumer electronics including TV, DVD player                                                                      $200.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections; other
               collections, memorabilia, collectibles
        No
        Yes. Describe.....

9. Equipment for sports and hobbies
    Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools; musical
              instruments
        No
        Yes. Describe.....

10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
        No
Official Form 106A/B                                                 Schedule A/B: Property                                                                        page 2
Software Copyright (c) 2019 CINGroup - www.cincompass.com
         Case:19-12044-MER Doc#:1 Filed:03/20/19                                                                             Entered:03/20/19 12:38:00 Page20 of 48
 Debtor 1         Oscar, Allison Lindsey                                                                                              Case number (if known)

       Yes. Describe.....

11. Clothes
     Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
      No
       Yes. Describe.....
                                           Ordinary clothing                                                                                                               $1,500.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
      No
       Yes. Describe.....
                                           Minor fashion jewelry and diamond solitaire wedding ring                                                                        $2,500.00


13. Non-farm animals
     Examples: Dogs, cats, birds, horses
       No
       Yes. Describe.....

14. Any other personal and household items you did not already list, including any health aids you did not list
       No
       Yes. Give specific information.....


 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached for
     Part 3. Write that number here ..............................................................................                                                      $5,200.00


 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                                                   Current value of the
                                                                                                                                                               portion you own?
                                                                                                                                                               Do not deduct secured
                                                                                                                                                               claims or exemptions.

16. Cash
     Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
      No
       Yes................................................................................................................
                                                                                                                                         Cash held by
                                                                                                                                         debtor                                $20.00


17. Deposits of money
     Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                   institutions. If you have multiple accounts with the same institution, list each.
      No
      Yes........................                                     Institution name:

                                                                                                 Checking Account, Bank of the West,
                                             17.1.       Checking Account                        approx.                                                                        $2.27


                                                         Certificates of
                                             17.2.       Deposit                                 Certificate of Deposit, Bank of the West                                 $12,397.00


                                                         Other Financial
                                             17.3.       Account                                 Health Savings Account                                                    $1,993.00


18. Bonds, mutual funds, or publicly traded stocks
     Examples: Bond funds, investment accounts with brokerage firms, money market accounts
       No
       Yes..................                           Institution or issuer name:

Official Form 106A/B                                                                      Schedule A/B: Property                                                                 page 3
Software Copyright (c) 2019 CINGroup - www.cincompass.com
         Case:19-12044-MER Doc#:1 Filed:03/20/19                                                Entered:03/20/19 12:38:00 Page21 of 48
 Debtor 1        Oscar, Allison Lindsey                                                                        Case number (if known)

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
     joint venture
       No
       Yes. Give specific information about them...................
                                  Name of entity:                                                                % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
       No
       Yes. Give specific information about them
                                    Issuer name:

21. Retirement or pension accounts
     Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
      No
       Yes. List each account separately.
                                Type of account:                            Institution name:
                                         Retirement Account                 PERA interest                                                             unknown


22. Security deposits and prepayments
     Your share of all unused deposits you have made so that you may continue service or use from a company
     Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
       No
       Yes. .....................                                           Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
       No
       Yes.............             Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
       No
       Yes.............             Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
       No
       Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
     Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
       No
       Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
       No
       Yes. Give specific information about them...

 Money or property owed to you?                                                                                                          Current value of the
                                                                                                                                         portion you own?
                                                                                                                                         Do not deduct secured
                                                                                                                                         claims or exemptions.

28. Tax refunds owed to you
      No
       Yes. Give specific information about them, including whether you already filed the returns and the tax years.......


                                                         Possible income tax refunds IRS and CO,
                                                            2017 & 2018                                                                               unknown




Official Form 106A/B                                                   Schedule A/B: Property                                                              page 4
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          Case:19-12044-MER Doc#:1 Filed:03/20/19                                                       Entered:03/20/19 12:38:00 Page22 of 48
 Debtor 1        Oscar, Allison Lindsey                                                                                     Case number (if known)

29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
        No
        Yes. Give specific information......


30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security benefits;
              unpaid loans you made to someone else
        No
        Yes. Give specific information..

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
      No
        Yes. Name the insurance company of each policy and list its value.
                                  Company name:                                                                  Beneficiary:                               Surrender or refund
                                                                                                                                                            value:
                                           Term Life Insurance, Death benefit is
                                           double Debtor's salary, no cash value                                                                                             $0.00


32. Any interest in property that is due you from someone who has died
     If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because someone has
     died.
        No
        Yes. Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
     Examples: Accidents, employment disputes, insurance claims, or rights to sue
        No
        Yes. Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
        No
        Yes. Describe each claim.........

35. Any financial assets you did not already list
        No
        Yes. Give specific information..


 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached for
     Part 4. Write that number here.....................................................................................................................          $14,412.27

 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
       No. Go to Part 6.

       Yes. Go to line 38.


                                                                                                                                                           Current value of the
                                                                                                                                                           portion you own?
                                                                                                                                                           Do not deduct secured
                                                                                                                                                           claims or exemptions.

38. Accounts receivable or commissions you already earned
      No
        Yes. Describe.....

                                      Earned, unpaid wages, approx                                                                                                      $2,800.00




Official Form 106A/B                                                        Schedule A/B: Property                                                                           page 5
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           Case:19-12044-MER Doc#:1 Filed:03/20/19                                                      Entered:03/20/19 12:38:00 Page23 of 48
 Debtor 1        Oscar, Allison Lindsey                                                                                     Case number (if known)

39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices
        No
        Yes. Describe.....


40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade
        No
        Yes. Describe.....


41. Inventory
        No
        Yes. Describe.....


42. Interests in partnerships or joint ventures
        No
        Yes. Give specific information about them...................
                                    Name of entity:                                                                           % of ownership:


43. Customer lists, mailing lists, or other compilations
       No.
       Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?


                  No
                  Yes. Describe.....


44. Any business-related property you did not already list
        No
        Yes. Give specific information.........



 45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached for
     Part 5. Write that number here.....................................................................................................................   $2,800.00

 Part 6:     Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
             If you own or have an interest in farmland, list it in Part 1.

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
           No. Go to Part 7.
           Yes. Go to line 47.


 Part 7:         Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
     Examples: Season tickets, country club membership
        No
        Yes. Give specific information.........


 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                     $0.00




Official Form 106A/B                                                        Schedule A/B: Property                                                                page 6
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           Case:19-12044-MER Doc#:1 Filed:03/20/19                                                               Entered:03/20/19 12:38:00 Page24 of 48
 Debtor 1         Oscar, Allison Lindsey                                                                                                Case number (if known)

 Part 8:         List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ......................................................................................................................          $238,000.00
 56. Part 2: Total vehicles, line 5                                                                           $20,225.00
 57. Part 3: Total personal and household items, line 15                                                       $5,200.00
 58. Part 4: Total financial assets, line 36                                                                  $14,412.27
 59. Part 5: Total business-related property, line 45                                                          $2,800.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                     $0.00
 61. Part 7: Total other property not listed, line 54                                             +                $0.00

 62. Total personal property. Add lines 56 through 61...                                                      $42,637.27              Copy personal property total       $42,637.27

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                    $280,637.27




Official Form 106A/B                                                               Schedule A/B: Property                                                                     page 7
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           Case:19-12044-MER Doc#:1 Filed:03/20/19                                          Entered:03/20/19 12:38:00 Page25 of 48
              Fill in this information to identify your case:

 Debtor 1                 Allison Lindsey Oscar
                          First Name                        Middle Name                Last Name

 Debtor 2
 (Spouse if, filing)      First Name                        Middle Name                Last Name


 United States Bankruptcy Court for the:            DISTRICT OF COLORADO, DENVER DIVISION

 Case number
 (if known)                                                                                                                               Check if this is an
                                                                                                                                          amended filing


Official Form 106C
Sc he dule C: T he Prope rt y Y ou Cla im a s Ex e m pt                                                                                                         4/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using the
property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is needed, fill
out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and case number (if
known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of any
applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the exemption
to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited to the
applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

           You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

           You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on           Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                   portion you own
                                                              Copy the value from    Check only one box for each exemption.
                                                              Schedule A/B

                                                                   $238,000.00                                $37,500.00      Colo. Rev. Stat. §§
      31468 Kings Vly W                                                                                                       38-41-201(a), 38-41-201.6,
      Conifer CO, 80433-7506                                                              100% of fair market value, up to    38-41-202
      County : Jefferson                                                                  any applicable statutory limit
      Line from Schedule A/B: 1.1

      2016 Honda CRV, 50,000 Miles, good                            $20,225.00                                  $7,500.00     Colo. Rev. Stat. §
      condition, purchased late 2017,                                                                                         13-54-102(1)(j)(I)
      NADA Clean Tr                                                                       100% of fair market value, up to
      Line from Schedule A/B: 3.1                                                         any applicable statutory limit

      Ordinary Household Goods                                        $1,000.00                                 $2,500.00     Colo. Rev. Stat. §
      including Sofa, Washer, Dryer,                                                                                          13-54-102(1)(e)
      Sewing Machine, 2 coffee tables,                                                    100% of fair market value, up to
      stove, refrigerator, freezer, 3 beds                                                any applicable statutory limit
      Line from Schedule A/B: 6.1

      Ordinary consumer electronics                                       $200.00                                 $500.00     Colo. Rev. Stat. §
      including TV, DVD player                                                                                                13-54-102(1)(e)
      Line from Schedule A/B: 7.1                                                         100% of fair market value, up to
                                                                                          any applicable statutory limit

      Ordinary clothing                                               $1,500.00                                 $2,000.00     Colo. Rev. Stat. §
      Line from Schedule A/B: 11.1                                                                                            13-54-102(1)(a)
                                                                                          100% of fair market value, up to
                                                                                          any applicable statutory limit


Official Form 106C                                    Schedule C: The Property You Claim as Exempt                                                        page 1 of 2
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         Case:19-12044-MER Doc#:1 Filed:03/20/19                                          Entered:03/20/19 12:38:00 Page26 of 48

     Brief description of the property and line on          Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
     Schedule A/B that lists this property                  portion you own
                                                            Copy the value from    Check only one box for each exemption.
                                                            Schedule A/B

     Minor fashion jewelry and diamond                             $2,500.00                                  $2,500.00     Colo. Rev. Stat. §
     solitaire wedding ring                                                                                                 13-54-102(1)(b)
     Line from Schedule A/B: 12.1                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     Checking Account, Bank of the                                       $2.27                                      75%     Colo. Rev. Stat. §§
     West, approx.                                                                                                          13-54-104(2)(A), 5-5-105,
     Line from Schedule A/B: 17.1                                                       100% of fair market value, up to    5-5-106
                                                                                        any applicable statutory limit

     PERA interest                                                 Unknown                                                  Colo. Rev. Stat. §
     Line from Schedule A/B: 21.1                                                                                           13-54-102(1)(s)
                                                                                        100% of fair market value, up to
                                                                                        any applicable statutory limit

     Earned, unpaid wages, approx                                  $2,800.00                                        75%     Colo. Rev. Stat. §§
     Line from Schedule A/B: 38.1                                                                                           13-54-104(2)(A), 5-5-105,
                                                                                        100% of fair market value, up to    5-5-106
                                                                                        any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $160,375?
    (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)
           No
           Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                   No
                   Yes




Official Form 106C                                    Schedule C: The Property You Claim as Exempt                                                     page 2 of 2
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           Case:19-12044-MER Doc#:1 Filed:03/20/19                                                Entered:03/20/19 12:38:00 Page27 of 48
              Fill in this information to identify your case:

 Debtor 1                   Allison Lindsey Oscar
                            First Name                      Middle Name                      Last Name

 Debtor 2
 (Spouse if, filing)        First Name                      Middle Name                      Last Name


 United States Bankruptcy Court for the:             DISTRICT OF COLORADO, DENVER DIVISION

 Case number
 (if known)                                                                                                                                       Check if this is an
                                                                                                                                                  amended filing

Official Form 106D
Sc he dule D: Cre dit ors Who H a ve Cla im s Se c ure d by Prope rt y                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case number (if
known).
1. Do any creditors have claims secured by your property?
           No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
           Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                            Column A               Column B                Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
 much as possible, list the claims in alphabetical order according to the creditor ’s name.                 Do not deduct the      that supports this      portion
                                                                                                            value of collateral.   claim                   If any
 2.1     American Honda Finance                   Describe the property that secures the claim:                 $13,282.00               $20,225.00                     $0.00
         Creditor's Name
                                                  2016 Honda CRV, 50,000 Miles,
                                                  good condition, purchased late
                                                  2017, NADA Clean Trade-In Value
         Attn: Bankruptcy                         As of the date you file, the claim is: Check all that
         PO Box 168088                            apply.
         Irving, TX 75016-8088                        Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
                                                       car loan)
     Debtor 2 only
       Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit
       Check if this claim relates to a               Other (including a right to offset)
       community debt

 Date debt was incurred          2016-11                   Last 4 digits of account number        1432

 2.2     Loancare LLC                             Describe the property that secures the claim:               $212,193.00              $238,000.00                      $0.00
         Creditor's Name
                                                  Residence - 1/2 of mortgage loan
         Attn: Consumer                           balance showing equity of Debtor
         Solutions Dept                           alone.
         PO Box 8068                              As of the date you file, the claim is: Check all that
         Virginia Beach, VA                       apply.

         23450-8068                                   Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
     Debtor 2 only                                     car loan)
       Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit
       Check if this claim relates to a               Other (including a right to offset)
       community debt

 Date debt was incurred          2007-08                   Last 4 digits of account number        5526

Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                       page 1 of 2
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           Case:19-12044-MER Doc#:1 Filed:03/20/19                                         Entered:03/20/19 12:38:00 Page28 of 48

 Debtor 1 Allison Lindsey Oscar                                                                   Case number (if known)
             First Name                Middle Name                 Last Name




 Add the dollar value of your entries in Column A on this page. Write that number here:                         $225,475.00
 If this is the last page of your form, add the dollar value totals from all pages.
 Write that number here:                                                                                        $225,475.00

 Part 2:    List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.


        Name, Number, Street, City, State & Zip Code                                       On which line in Part 1 did you enter the creditor?   2.1
        American Honda Finance
        3625 W Royal Ln Ste 100                                                            Last 4 digits of account number   1432
        Irving, TX 75063-2912

        Name, Number, Street, City, State & Zip Code                                       On which line in Part 1 did you enter the creditor?   2.2
        Cit Bank NA/Loancare
        75 N Fair Oaks Ave                                                                 Last 4 digits of account number   5526
        Pasadena, CA 91103-3651

        Name, Number, Street, City, State & Zip Code                                       On which line in Part 1 did you enter the creditor?   2.2
        Citibank
        Document Administration                                                            Last 4 digits of account number   5526
        1000 Technology Dr MSC 221
        Saint Charles, MO 63301

        Name, Number, Street, City, State & Zip Code                                       On which line in Part 1 did you enter the creditor?   2.2
        Citibank Federal Savings Bank
        11800 Spectrum Center Dr                                                           Last 4 digits of account number   5526
        Reston, VA 20190

        Name, Number, Street, City, State & Zip Code                                       On which line in Part 1 did you enter the creditor?   2.2
        Citibank, Inc.
        Dave Larose/NTC                                                                    Last 4 digits of account number   5526
        2100 Alternate 19 N
        Palm Harbor, FL 34682

        Name, Number, Street, City, State & Zip Code                                       On which line in Part 1 did you enter the creditor?   2.2
        Citimortgage
        c/o Nationwide Title Clearing, Inc.                                                Last 4 digits of account number   5526
        2100 Alternate 19 N
        Palm Harbor, FL 34682

        Name, Number, Street, City, State & Zip Code                                       On which line in Part 1 did you enter the creditor?   2.2
        Jefferson County Public Trustee
        100 Jefferson County Pkwy Ste 2510                                                 Last 4 digits of account number   5526
        Golden, CO 80419-0001




Official Form 106D                  Additional Page ofSchedule D: Creditors Who Have Claims Secured by Property                                              page 2 of 2
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           Case:19-12044-MER Doc#:1 Filed:03/20/19                                                    Entered:03/20/19 12:38:00 Page29 of 48
      Fill in this information to identify your case:

 Debtor 1                   Allison Lindsey Oscar
                            First Name                         Middle Name                       Last Name

 Debtor 2
 (Spouse if, filing)        First Name                         Middle Name                       Last Name


 United States Bankruptcy Court for the:              DISTRICT OF COLORADO, DENVER DIVISION

 Case number
 (if known)                                                                                                                                               Check if this is an
                                                                                                                                                          amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                   12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in Schedule
D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach
the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your name and
case number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?

           No. Go to Part 2.
           Yes.
 Part 2:        List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

           No. You have nothing to report in this part. Submit this form to the court with your other schedules.

           Yes.

 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of Part
       2.
                                                                                                                                                             Total claim

 4.1          American Express                                         Last 4 digits of account number          1008                                                    $8,952.00
              Nonpriority Creditor's Name
                                                                       When was the debt incurred?
              PO Box 6985
              Buffalo, NY 14240
              Number Street City State ZIp Code                        As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only                                              Contingent
                  Debtor 2 only                                              Unliquidated
                  Debtor 1 and Debtor 2 only                                 Disputed
                  At least one of the debtors and another              Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                     Student loans
              debt                                                        Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                          report as priority claims

                  No                                                         Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                        Other. Specify




Official Form 106 E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                                              Page 1 of 9
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         Case:19-12044-MER Doc#:1 Filed:03/20/19                                              Entered:03/20/19 12:38:00 Page30 of 48
 Debtor 1 Oscar, Allison Lindsey                                                                      Case number (if known)

 4.2      Apex Paramedics                                         Last 4 digits of account number                                                      $614.00
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?           9/27/18
          5394 Marshall St Ste 200
          Arvada, CO 80002-3948
          Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.3      Autopay of Montana                                      Last 4 digits of account number       nown                                           $184.00
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?           unknown
          PO Box 8088
          Missoula, MT 59807
          Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.4      Barclays Bank Delaware                                  Last 4 digits of account number       3933                                         $21,442.00
          Nonpriority Creditor's Name
          Attn: Correspondence                                    When was the debt incurred?           2007-09
          PO Box 8801
          Wilmington, DE 19899-8801
          Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify   Revolving account




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 2 of 9
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         Case:19-12044-MER Doc#:1 Filed:03/20/19                                              Entered:03/20/19 12:38:00 Page31 of 48
 Debtor 1 Oscar, Allison Lindsey                                                                      Case number (if known)

 4.5      Benefis                                                 Last 4 digits of account number       nown                                          $82.00
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?           unknown
          500 15th Ave S
          Great Falls, MT 59405-4324
          Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.6      Brighton Community Emerg Phys                           Last 4 digits of account number       nown                                         $128.00
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?           unknown
          PO Box 3495
          Toledo, OH 43607
          Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.7      Carepoint ER Physicians                                 Last 4 digits of account number                                                     $22.00
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          PO Box 48458
          Oak Park, MI 48237-6058
          Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 3 of 9
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         Case:19-12044-MER Doc#:1 Filed:03/20/19                                              Entered:03/20/19 12:38:00 Page32 of 48
 Debtor 1 Oscar, Allison Lindsey                                                                      Case number (if known)

 4.8      Cavalry SPV /Citibank                                   Last 4 digits of account number                                                    $5,318.00
          Nonpriority Creditor's Name
          Machol & Johannes                                       When was the debt incurred?
          700 17th St Ste 200
          Denver, CO 80202-3558
          Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.9      Centura Health                                          Last 4 digits of account number       nown                                         $4,267.00
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?           unknown
          8140 S Holly St
          Centennial, CO 80122-4004
          Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.10     Conifer Medical Center                                  Last 4 digits of account number       nown                                             $0.00
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?           unknown
          26659 Pleasant Park Rd
          Conifer, CO 80433-7714
          Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 4 of 9
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         Case:19-12044-MER Doc#:1 Filed:03/20/19                                              Entered:03/20/19 12:38:00 Page33 of 48
 Debtor 1 Oscar, Allison Lindsey                                                                      Case number (if known)

 4.11     CSPFC102                                                Last 4 digits of account number       nown                                         unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?           unknown
          PO Box 857
          Oaks, PA 19456-0857
          Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.12     Enterprise Rent a Car                                   Last 4 digits of account number       9417                                          $227.00
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?           9/10/18
          PO Box 6579
          Helena, MT 59604-6579
          Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.13     Malcolm Strange, DDS                                    Last 4 digits of account number       none                                          $117.00
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?           12/3/18
          30960 Stagecoach Blvd # W-100
          Evergreen, CO 80439-7902
          Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 5 of 9
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         Case:19-12044-MER Doc#:1 Filed:03/20/19                                              Entered:03/20/19 12:38:00 Page34 of 48
 Debtor 1 Oscar, Allison Lindsey                                                                      Case number (if known)

 4.14     Marshfield Clinic Health System                         Last 4 digits of account number       nown                                         unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?           unknown
          1000 N Oak Ave
          Marshfield, WI 54449-5703
          Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.15     MyChart Account Services                                Last 4 digits of account number       nown                                         unknown
          Nonpriority Creditor's Name
          c/o SwedishAmerican Health                              When was the debt incurred?           unknown
          1401 E State St
          Rockford, IL 61104-2315
          Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.16     Northstar Location Services                             Last 4 digits of account number                                                     $736.00
          Nonpriority Creditor's Name
          Re: Discover Card                                       When was the debt incurred?
          4285 Genesee St
          Cheektowaga, NY 14225-1943
          Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 6 of 9
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         Case:19-12044-MER Doc#:1 Filed:03/20/19                                              Entered:03/20/19 12:38:00 Page35 of 48
 Debtor 1 Oscar, Allison Lindsey                                                                      Case number (if known)

 4.17     NPAS, Inc.                                              Last 4 digits of account number       nown                                         unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?           unknown
          PO Box 99400
          Louisville, KY 40269-0400
          Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.18     Pentagroup Financial                                    Last 4 digits of account number       nown                                         unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?           unknown
          35A Rust Ln
          Boerne, TX 78006-8202
          Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.19     Quest Diagnostics                                       Last 4 digits of account number                                                      $15.00
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          PO Box 7306
          Hollister, MO 65673-7306
          Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 7 of 9
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         Case:19-12044-MER Doc#:1 Filed:03/20/19                                              Entered:03/20/19 12:38:00 Page36 of 48
 Debtor 1 Oscar, Allison Lindsey                                                                      Case number (if known)

 4.20     Radiology Montana, PC                                   Last 4 digits of account number       nown                                           $39.00
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?           unknown
          PO Box 9039
          Longview, TX 75608-9039
          Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.21     USACS Community ER Services                             Last 4 digits of account number       nown                                           $75.00
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?           unknown
          PO Box 14099
          Belfast, ME 04915
          Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.22     UW Health                                               Last 4 digits of account number       nown                                         unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?           unknown
          750 University Row
          Madison, WI 53705-1311
          Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 8 of 9
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           Case:19-12044-MER Doc#:1 Filed:03/20/19                                                Entered:03/20/19 12:38:00 Page37 of 48
 Debtor 1 Oscar, Allison Lindsey                                                                          Case number (if known)

 4.23      Wells Fargo Card Services                               Last 4 digits of account number                                                               unknown
           Nonpriority Creditor's Name
                                                                   When was the debt incurred?
           PO Box 10347
           Des Moines, IA 50306-0347
           Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another              Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                    Student loans
           debt                                                       Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                         report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify


 Part 3:     List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.
 Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
 Barclays Bank Delaware                                      Line 4.4 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 PO Box 8803                                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
 Wilmington, DE 19899-8803
                                                             Last 4 digits of account number                      3933
 Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
 Transworld Systems                                          Line 4.12 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Re: Enterprise Rent a Car                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
 500 Virginia Dr
 Fort Washington, PA 19034-2707
                                                             Last 4 digits of account number                      9417

 Part 4:     Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                                 Total Claim
                        6a.   Domestic support obligations                                                  6a.       $                           0.00
 Total claims
  from Part 1           6b.   Taxes and certain other debts you owe the government                          6b.       $                           0.00
                        6c.   Claims for death or personal injury while you were intoxicated                6c.       $                           0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.       6d.       $                           0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                      6e.       $                           0.00

                                                                                                                                 Total Claim
                        6f.   Student loans                                                                 6f.       $                           0.00
 Total claims
  from Part 2           6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                         6g.       $                           0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts             6h.       $                           0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount          6i.
                              here.                                                                                   $                      42,218.00

                        6j.   Total Nonpriority. Add lines 6f through 6i.                                   6j.       $                      42,218.00




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                         Page 9 of 9
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           Case:19-12044-MER Doc#:1 Filed:03/20/19                                        Entered:03/20/19 12:38:00 Page38 of 48
              Fill in this information to identify your case:

 Debtor 1                 Allison Lindsey Oscar
                          First Name                         Middle Name              Last Name

 Debtor 2
 (Spouse if, filing)      First Name                         Middle Name              Last Name


 United States Bankruptcy Court for the:              DISTRICT OF COLORADO, DENVER DIVISION

 Case number
 (if known)                                                                                                                               Check if this is an
                                                                                                                                          amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                      12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.      Do you have any executory contracts or unexpired leases?
            No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
            Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

2.      List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
        example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
        unexpired leases.


         Person or company with whom you have the contract or lease                     State what the contract or lease is for
                          Name, Number, Street, City, State and ZIP Code
  2.1
           Name


           Number       Street

           City                                    State                   ZIP Code
  2.2
           Name


           Number       Street

           City                                    State                   ZIP Code
  2.3
           Name


           Number       Street

           City                                    State                   ZIP Code
  2.4
           Name


           Number       Street

           City                                    State                   ZIP Code
  2.5
           Name


           Number       Street

           City                                    State                   ZIP Code




Official Form 106G                                Schedule G: Executory Contracts and Unexpired Leases                                                   Page 1 of 1
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           Case:19-12044-MER Doc#:1 Filed:03/20/19                                      Entered:03/20/19 12:38:00 Page39 of 48
              Fill in this information to identify your case:

 Debtor 1                   Allison Lindsey Oscar
                            First Name                           Middle Name        Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name        Last Name


 United States Bankruptcy Court for the:                 DISTRICT OF COLORADO, DENVER DIVISION

 Case number
 (if known)                                                                                                                       Check if this is an
                                                                                                                                  amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                        12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

       1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

           No
           Yes

       2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include Arizona,
       California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

           No. Go to line 3.
           Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?


   3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown in
      line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official Form
      106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill out
      Column 2.

                Column 1: Your codebtor                                                                Column 2: The creditor to whom you owe the debt
                Name, Number, Street, City, State and ZIP Code                                         Check all schedules that apply:


    3.1         Andrew Oscar                                                                            Schedule D, line
                31468 Kings Vly W                                                                       Schedule E/F, line      4.1
                Conifer, CO 80433-7506
                                                                                                        Schedule G
                                                                                                      American Express



    3.2         Andrew Oscar                                                                            Schedule D, line
                31468 Kings Vly W                                                                       Schedule E/F, line      4.2
                Conifer, CO 80433-7506                                                                  Schedule G
                                                                                                      Apex Paramedics



    3.3         Andrew Oscar                                                                            Schedule D, line
                31468 Kings Vly W                                                                       Schedule E/F, line      4.3
                Conifer, CO 80433-7506                                                                  Schedule G
                                                                                                      Autopay of Montana




Official Form 106H                                                             Schedule H: Your Codebtors                                      Page 1 of 4
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          Case:19-12044-MER Doc#:1 Filed:03/20/19                   Entered:03/20/19 12:38:00 Page40 of 48

 Debtor 1 Oscar, Allison Lindsey                                           Case number (if known)



            Additional Page to List More Codebtors
             Column 1: Your codebtor                                            Column 2: The creditor to whom you owe the debt
                                                                                Check all schedules that apply:
    3.4      Andrew Oscar                                                         Schedule D, line
             31468 Kings Vly W                                                    Schedule E/F, line     4.5
             Conifer, CO 80433-7506
                                                                                  Schedule G
                                                                                Benefis



    3.5      Andrew Oscar                                                          Schedule D, line
             31468 Kings Vly W                                                     Schedule E/F, line 4.6
             Conifer, CO 80433-7506
                                                                                  Schedule G
                                                                                Brighton Community Emerg Phys



    3.6      Andrew Oscar                                                         Schedule D, line
             31468 Kings Vly W                                                    Schedule E/F, line  4.7
             Conifer, CO 80433-7506
                                                                                  Schedule G
                                                                                Carepoint ER Physicians



    3.7      Andrew Oscar                                                         Schedule D, line
             31468 Kings Vly W                                                    Schedule E/F, line  4.8
             Conifer, CO 80433-7506
                                                                                  Schedule G
                                                                                Cavalry SPV /Citibank



    3.8      Andrew Oscar                                                         Schedule D, line
             31468 Kings Vly W                                                    Schedule E/F, line     4.9
             Conifer, CO 80433-7506
                                                                                  Schedule G
                                                                                Centura Health



    3.9      Andrew Oscar                                                         Schedule D, line
             31468 Kings Vly W                                                    Schedule E/F, line
             Conifer, CO 80433-7506                                               Schedule G
                                                                                Colorado Dept. Of Revenue



    3.10     Andrew Oscar                                                         Schedule D, line
             31468 Kings Vly W                                                    Schedule E/F, line   4.10
             Conifer, CO 80433-7506
                                                                                  Schedule G
                                                                                Conifer Medical Center



    3.11     Andrew Oscar                                                         Schedule D, line
             31468 Kings Vly W                                                    Schedule E/F, line     4.11
             Conifer, CO 80433-7506
                                                                                  Schedule G
                                                                                CSPFC102




Official Form 106H                                          Schedule H: Your Codebtors                                Page 2 of 4
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         Case:19-12044-MER Doc#:1 Filed:03/20/19                    Entered:03/20/19 12:38:00 Page41 of 48

 Debtor 1 Oscar, Allison Lindsey                                           Case number (if known)



            Additional Page to List More Codebtors
             Column 1: Your codebtor                                            Column 2: The creditor to whom you owe the debt
                                                                                Check all schedules that apply:
    3.12     Andrew Oscar                                                         Schedule D, line
             31468 Kings Vly W                                                    Schedule E/F, line  4.12
             Conifer, CO 80433-7506
                                                                                  Schedule G
                                                                                Enterprise Rent a Car



    3.13     Andrew Oscar                                                          Schedule D, line
             31468 Kings Vly W                                                     Schedule E/F, line
             Conifer, CO 80433-7506                                                Schedule G
                                                                                Internal Revenue Service



    3.14     Andrew Oscar                                                         Schedule D, line   2.2
             31468 Kings Vly W                                                    Schedule E/F, line
             Conifer, CO 80433-7506
                                                                                  Schedule G
                                                                                Loancare LLC



    3.15     Andrew Oscar                                                         Schedule D, line
             31468 Kings Vly W                                                    Schedule E/F, line 4.13
             Conifer, CO 80433-7506
                                                                                  Schedule G
                                                                                Malcolm Strange, DDS



    3.16     Andrew Oscar                                                         Schedule D, line
             31468 Kings Vly W                                                    Schedule E/F, line    4.14
             Conifer, CO 80433-7506
                                                                                  Schedule G
                                                                                Marshfield Clinic Health System



    3.17     Andrew Oscar                                                         Schedule D, line
             31468 Kings Vly W                                                    Schedule E/F, line 4.15
             Conifer, CO 80433-7506
                                                                                  Schedule G
                                                                                MyChart Account Services



    3.18     Andrew Oscar                                                         Schedule D, line
             31468 Kings Vly W                                                    Schedule E/F, line  4.16
             Conifer, CO 80433-7506
                                                                                  Schedule G
                                                                                Northstar Location Services



    3.19     Andrew Oscar                                                         Schedule D, line
             31468 Kings Vly W                                                    Schedule E/F, line     4.17
             Conifer, CO 80433-7506
                                                                                  Schedule G
                                                                                NPAS, Inc.




Official Form 106H                                          Schedule H: Your Codebtors                                Page 3 of 4
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         Case:19-12044-MER Doc#:1 Filed:03/20/19                    Entered:03/20/19 12:38:00 Page42 of 48

 Debtor 1 Oscar, Allison Lindsey                                           Case number (if known)



            Additional Page to List More Codebtors
             Column 1: Your codebtor                                            Column 2: The creditor to whom you owe the debt
                                                                                Check all schedules that apply:
    3.20     Andrew Oscar                                                         Schedule D, line
             31468 Kings Vly W                                                    Schedule E/F, line 4.18
             Conifer, CO 80433-7506
                                                                                  Schedule G
                                                                                Pentagroup Financial



    3.21     Andrew Oscar                                                         Schedule D, line
             31468 Kings Vly W                                                    Schedule E/F, line     4.19
             Conifer, CO 80433-7506
                                                                                  Schedule G
                                                                                Quest Diagnostics



    3.22     Andrew Oscar                                                         Schedule D, line
             31468 Kings Vly W                                                    Schedule E/F, line 4.20
             Conifer, CO 80433-7506
                                                                                  Schedule G
                                                                                Radiology Montana, PC



    3.23     Andrew Oscar                                                         Schedule D, line
             31468 Kings Vly W                                                    Schedule E/F, line 4.21
             Conifer, CO 80433-7506
                                                                                  Schedule G
                                                                                USACS Community ER Services



    3.24     Andrew Oscar                                                         Schedule D, line
             31468 Kings Vly W                                                    Schedule E/F, line     4.22
             Conifer, CO 80433-7506
                                                                                  Schedule G
                                                                                UW Health



    3.25     Andrew Oscar                                                         Schedule D, line
             31468 Kings Vly W                                                    Schedule E/F, line  4.23
             Conifer, CO 80433-7506                                              Schedule G
                                                                                Wells Fargo Card Services




Official Form 106H                                          Schedule H: Your Codebtors                                Page 4 of 4
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          Case:19-12044-MER Doc#:1 Filed:03/20/19                                    Entered:03/20/19 12:38:00 Page43 of 48



Fill in this information to identify your case:

Debtor 1                      Allison Lindsey Oscar

Debtor 2
(Spouse, if filing)


United States Bankruptcy Court for the:       DISTRICT OF COLORADO, DENVER DIVISION

Case number                                                                                                Check if this is:
(If known)
                                                                                                              An amended filing
                                                                                                              A supplement showing postpetition chapter 13
                                                                                                              income as of the following date:

Official Form 106I                                                                                             MM / DD/ YYYY
Schedule I: Your Income                                                                                                                      12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                  Debtor 1                                    Debtor 2 or non-filing spouse

       If you have more than one job,                                    Employed                                    Employed
       attach a separate page with           Employment status
                                                                         Not employed                                Not employed
       information about additional
       employers.
                                             Occupation              Counselor
       Include part-time, seasonal, or
       self-employed work.                   Employer's name         Littleton Public Schools

       Occupation may include student or Employer's address
                                                                     5776 S Crocker St
       homemaker, if it applies.
                                                                     Littleton, CO 80120-2012

                                             How long employed there?           4 years and 6 months

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing spouse
unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need more
space, attach a separate sheet to this form.

                                                                                                         For Debtor 1        For Debtor 2 or
                                                                                                                             non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.             2.    $        6,685.00       $               N/A

3.     Estimate and list monthly overtime pay.                                                 3.   +$              0.00     +$              N/A

4.     Calculate gross Income. Add line 2 + line 3.                                            4.    $      6,685.00             $         N/A




Official Form 106I                                                        Schedule I: Your Income                                                     page 1
        Case:19-12044-MER Doc#:1 Filed:03/20/19                                   Entered:03/20/19 12:38:00 Page44 of 48


Debtor 1    Oscar, Allison Lindsey                                                                  Case number (if known)



                                                                                                        For Debtor 1          For Debtor 2 or
                                                                                                                              non-filing spouse
      Copy line 4 here                                                                      4.          $      6,685.00       $              N/A

5.    List all payroll deductions:
      5a.    Tax, Medicare, and Social Security deductions                                   5a.        $        966.00       $               N/A
      5b.    Mandatory contributions for retirement plans                                    5b.        $        455.00       $               N/A
      5c.    Voluntary contributions for retirement plans                                    5c.        $          0.00       $               N/A
      5d.    Required repayments of retirement fund loans                                    5d.        $          0.00       $               N/A
      5e.    Insurance                                                                       5e.        $        993.00       $               N/A
      5f.    Domestic support obligations                                                    5f.        $          0.00       $               N/A
      5g.    Union dues                                                                      5g.        $          0.00       $               N/A
      5h.    Other deductions. Specify:                                                      5h.+       $          0.00 +     $               N/A
6.    Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                        6.      $          2,414.00       $               N/A
7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                   7.      $          4,271.00       $               N/A
8.    List all other income regularly received:
      8a.    Net income from rental property and from operating a business,
             profession, or farm
             Attach a statement for each property and business showing gross
             receipts, ordinary and necessary business expenses, and the total
             monthly net income.                                                             8a.        $              0.00   $               N/A
      8b. Interest and dividends                                                             8b.        $              0.00   $               N/A
      8c.    Family support payments that you, a non-filing spouse, or a dependent
             regularly receive
             Include alimony, spousal support, child support, maintenance, divorce
             settlement, and property settlement.                                            8c.        $              0.00   $               N/A
      8d. Unemployment compensation                                                          8d.        $              0.00   $               N/A
      8e.    Social Security                                                                 8e.        $              0.00   $               N/A
      8f.    Other government assistance that you regularly receive
             Include cash assistance and the value (if known) of any non-cash assistance
             that you receive, such as food stamps (benefits under the Supplemental
             Nutrition Assistance Program) or housing subsidies.
             Specify:                                                                        8f.  $                    0.00   $               N/A
      8g. Pension or retirement income                                                       8g. $                     0.00   $               N/A
      8h. Other monthly income. Specify:                                                     8h.+ $                    0.00 + $               N/A

9.    Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                              9.      $                  0.00   $                N/A

10. Calculate monthly income. Add line 7 + line 9.                                         10. $            4,271.00 + $           N/A = $           4,271.00
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                       11.    +$             0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on theSummary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it applies 12.       $          4,271.00
                                                                                                                                         Combined
                                                                                                                                         monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain:




Official Form 106I                                                      Schedule I: Your Income                                                        page 2
      Case:19-12044-MER Doc#:1 Filed:03/20/19                                          Entered:03/20/19 12:38:00 Page45 of 48



Fill in this information to identify your case:

Debtor 1                 Allison Lindsey Oscar                                                              Check if this is:
                                                                                                                An amended filing
Debtor 2                                                                                                        A supplement showing postpetition chapter 13
(Spouse, if filing)                                                                                             expenses as of the following date:

United States Bankruptcy Court for the:   DISTRICT OF COLORADO, DENVER DIVISION                                    MM / DD / YYYY

Case number
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                               12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?
                      No
                      Yes. Debtor 2 must file Official Form 106J-2,Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?               No
      Do not list Debtor 1 and                     Fill out this information for   Dependent’s relationship to        Dependent’s      Does dependent
                                            Yes.   each dependent..............    Debtor 1 or Debtor 2               age              live with you?
      Debtor 2.

      Do not state the                                                                                                                     No
      dependents names.                                                            child                              12                   Yes
                                                                                                                                           No
                                                                                   child                              6                    Yes
                                                                                                                                           No
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                                                                           Yes
3.    Do your expenses include                     No
      expenses of people other than
      yourself and your dependents?                Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know the
value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                      Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                                 0.00

      If not included in line 4:

      4a.   Real estate taxes                                                                              4a.   $                               0.00
      4b. Property, homeowner’s, or renter’s insurance                                                     4b.   $                               0.00
      4c.   Home maintenance, repair, and upkeep expenses                                                  4c.   $                               0.00
      4d. Homeowner’s association or condominium dues                                                      4d.   $                               0.00
5.    Additional mortgage payments for your residence, such as home equity loans                            5.   $                               0.00




Official Form 106J                                                   Schedule J: Your Expenses                                                          page 1
      Case:19-12044-MER Doc#:1 Filed:03/20/19                                            Entered:03/20/19 12:38:00 Page46 of 48


Debtor 1     Oscar, Allison Lindsey                                                                    Case number (if known)

6.    Utilities:
      6a.     Electricity, heat, natural gas                                                    6a. $                                              350.00
      6b. Water, sewer, garbage collection                                                     6b. $                                               175.00
      6c.     Telephone, cell phone, Internet, satellite, and cable services                    6c. $                                              245.00
      6d. Other. Specify:                                                                      6d. $                                                 0.00
7.    Food and housekeeping supplies                                                             7. $                                              800.00
8.    Childcare and children’s education costs                                                   8. $                                              500.00
9.    Clothing, laundry, and dry cleaning                                                        9. $                                              100.00
10.   Personal care products and services                                                      10. $                                                50.00
11.   Medical and dental expenses                                                              11. $                                               150.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                             12. $                                               250.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                       13. $                                               300.00
14.   Charitable contributions and religious donations                                         14. $                                                 0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                     15a. $                                                 0.00
      15b. Health insurance                                                                   15b. $                                                 0.00
      15c. Vehicle insurance                                                                  15c. $                                               200.00
      15d. Other insurance. Specify:                                                          15d. $                                                 0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                                 16. $                                                  0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                         17a. $                                               408.00
      17b. Car payments for Vehicle 2                                                         17b. $                                                 0.00
      17c. Other. Specify:                                                                    17c. $                                                 0.00
      17d. Other. Specify:                                                                    17d. $                                                 0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).          18. $                                                  0.00
19.   Other payments you make to support others who do not live with you.                           $                                                 0.00
      Specify:                                                                                 19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                        20a. $                                                 0.00
      20b. Real estate taxes                                                                  20b. $                                                 0.00
      20c. Property, homeowner’s, or renter’s insurance                                       20c. $                                                 8.00
      20d. Maintenance, repair, and upkeep expenses                                           20d. $                                                 0.00
      20e. Homeowner’s association or condominium dues                                        20e. $                                                 0.00
21.   Other: Specify:       Home Ins /future rent                                              21. +$                                              320.00
      Car registration                                                                              +$                                              30.00
      Pet expenses (food/vet)                                                                       +$                                              50.00
      Budget for Unanticipated Expense                                                              +$                                              25.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                      $                       3,961.00
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                              $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                 $                       3,961.00
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                       23a. $                               4,271.00
    23b. Copy your monthly expenses from line 22c above.                                                    23b. -$                              3,961.00

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                                 310.00

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
         No.
         Yes.             Explain here: By the time Debtor moves from her current residence Debtor expects to have a sufficient
                          contribution from her spouse for the support of the children. Debtor and her spouse have permanently
                          separated.




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
          Case:19-12044-MER Doc#:1 Filed:03/20/19                              Entered:03/20/19 12:38:00 Page47 of 48



      Fill in this information to identify your case:

Debtor 1                    Allison Lindsey Oscar
                            First Name              Middle Name            Last Name

Debtor 2
(Spouse if, filing)         First Name              Middle Name            Last Name


United States Bankruptcy Court for the:      DISTRICT OF COLORADO, DENVER DIVISION

Case number
(if known)                                                                                                                    Check if this is an
                                                                                                                              amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                  12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                      Sign Below


       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

               No

               Yes. Name of person                                                                     Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                       Declaration, and Signature (Official Form 119)


      Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
      that they are true and correct.

       X /s/ Allison Lindsey Oscar                                         X
             Allison Lindsey Oscar                                             Signature of Debtor 2
             Signature of Debtor 1

             Date       March 19, 2019                                         Date
                                                                           Case:19-12044-MER Doc#:1 Filed:03/20/19                     Entered:03/20/19 12:38:00 Page48 of 48
                                                                                                               United States Bankruptcy Court
                                                                                                              District of Colorado, Denver Division

                                                                   IN RE:                                                                                  Case No.
                                                                   Oscar, Allison Lindsey                                                                  Chapter 13
                                                                                                          Debtor(s)

                                                                                                          VERIFICATION OF CREDITOR MATRIX
                                                                   The above named debtor(s) hereby verify(ies) that the attached matrix listing creditors is true to the best of my(our) knowledge.



                                                                   Date: March 19, 2019                   Signature: /s/ Allison Lindsey Oscar
                                                                                                                       Allison Lindsey Oscar                                                   Debtor



                                                                   Date:                                  Signature:
                                                                                                                                                                                   Joint Debtor, if any
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